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      STEPHEN M. LOBBIN
      sml@smlavvocati.com
  2   SML AVVOCATI P.C.
  3
      969 Hilgard Avenue
      Los Angeles, California 90024
  4   (949) 636-1391 (Phone)
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      Attorney(s) for Display Technologies, LLC
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  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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       DISPLAY TECHNOLOGIES, LLC,
                                                      CASE NO. 2:22-cv-02681
 11                       Plaintiff,
                                                      COMPLAINT FOR PATENT
 12    v.
                                                      INFRINGEMENT
 13
       BOSS INTERNATIONAL GROUP,
 14    INC. d/b/a PLANET AUDIO                        DEMAND FOR JURY TRIAL
       SYSTEMS,
 15
                          Defendant.
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 18         Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this
 19   Complaint against BOSS International Group, Inc. (“Defendant” or “Planet Audio”)
 20   for infringement of United States Patent No. 9,300,723 (the “ ‘723 Patent”).
 21                            PARTIES AND JURISDICTION
 22         1.     This is an action for patent infringement under Title 35 of the United
 23   States Code. Plaintiff is seeking injunctive relief as well as damages.
 24         2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
 25   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
 26   infringement arising under the United States patent statutes.
 27         3.     Plaintiff is a Texas limited liability company with an address of 1 East
 28   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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  1          4.     On information and belief, Defendant is a Delaware corporation with a
  2   principal place of business at 3451 Lunar Court, Oxnard CA 93030. On information
  3   and belief, Defendant may be served through its agent, The Corporation Trust
  4   Company, Corporation Trust Center, 1209 Orange St, Wilmington, DE 19801.
  5          5.     This Court has personal jurisdiction over Defendant because Defendant
  6   has committed, and continues to commit, acts of infringement in this District, has
  7   conducted business in this District, and/or has engaged in continuous and systematic
  8   activities in this District.
  9          6.     Upon information and belief, Defendant’s instrumentalities that are
 10   alleged herein to infringe were and continue to be used, imported, offered for sale,
 11   and/or sold in this District.
 12                                           VENUE
 13          7.     On information and belief, venue is proper in this District under 28
 14   U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively, acts
 15   of infringement are occurring in this District and Defendant has a regular and
 16   established place of business in this District.
 17                                          COUNT I
 18         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
 19          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
 20          9.     This cause of action arises under the patent laws of the United States
 21   and, in particular, under 35 U.S.C. §§ 271, et seq.
 22          10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole rights
 23   to enforce the ‘723 Patent and sue infringers.
 24          11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless
 25   communications,” is attached hereto as Exhibit A.
 26          12.    The ‘723 Patent is valid, enforceable, and was duly issued in full
 27   compliance with Title 35 of the United States Code.
 28          13.    Defendant has infringed and continues to infringe one or more claims,
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  1   including at least Claim 12 of the ‘723 Patent by making, using, and/or selling media
  2   systems covered by one or more claims of the ‘723 Patent. For example, Defendant
  3   makes, uses, and/or sells the Planet Audio car stereo, associated software, hardware
  4   and/or apps, and any similar products (“Product”). Defendant has infringed and
  5   continues to infringe the ‘723 Patent in violation of 35 U.S.C. § 271.
  6         14.    Regarding Claim 12, the Product is a media system through which a user
  7   can view a media file (e.g. camera photos) from a camera, through a media terminal
  8   (e.g., smartphone) from a media node (e.g., Bluetooth server) over a communication
  9   network (e.g. Bluetooth network) through a communication link (wireless
 10   communication). Certain aspects of this element are illustrated in the screenshots
 11   below and/or those provided in connection with other allegations herein.
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 19         15.   The Product includes at least one media terminal disposed in an
 20   accessible relation to at least one interactive computer network. For example, the
 21   Bluetooth network is used to play music and video from mobile. Certain aspects of
 22   this element are illustrated in the screenshots below and/or in those provided in
 23   connection with other allegations herein.
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            16.    A wireless range is structured to permit authorized access to the at least

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      one interactive computer network. For example, the mobile phone is connected with

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      the car stereo through a Bluetooth authorized access (e.g. via pairing Bluetooth) that

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      permits the connection of the mobile by the wireless network (interactive computer

 22
      network).

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            17.    At least one media node is disposable within the wireless range, wherein
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      the at least one media node is detectable by the at least one media terminal. For
 14
      example, the media node (connecting Car stereo) sends Bluetooth signals, which are
 15
      detected by the mobile phone (at least one media terminal) when the mobile phone is
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      paired with Bluetooth. Certain aspects of this element are illustrated in the screenshots
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      below and/or those provided in connection with other allegations herein.
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            18.   At least one digital media file is initially disposed on at least one of the
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      at least one media terminal or the at least one media node and the at least one media
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      terminal is structured to detect the at least one media node disposed within the
 15
      wireless range. For example, the mobile (media terminal) is connected with the car
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      stereo through a Bluetooth when the mobile comes within range (wireless) of the
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      Bluetooth signals.
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  1         19.   A communication link is structured to dispose the at least one media
  2   terminal and the at least one media node in a communicative relation with one another
  3   via the at least one interactive computer network. For example, the mobile (media
  4   terminal) connects when the Car Stereo (i.e. media node) comes to the Bluetooth
  5   range detected by mobile (at least one media terminal) through a Bluetooth network
  6   (interactive computer network).
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            20.   The communication link is initiated by the at least one media terminal.
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      For example, the communication link, i.e. Bluetooth network, which is the link
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      between mobile and the Car Stereo (i.e. media node) whenever the Car Stereo (i.e.
 24
      media node) comes to Bluetooth range of mobile (at least one media terminal).
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            21.    The at least one media node and the at least one media terminal are
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      structured to transmit the at least one digital media file there between via the
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      communication link. For example, the mobile phone is connected with the Car Stereo
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      through a Bluetooth network (media node) when the mobile phone (media terminal)
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      is within the Bluetooth range.
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             22.    The communication link is structured to bypass at least one media
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       terminal security measure for a limited permissible use of the communication link by
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       the media node to only transferring the at least one digital media file to, and displaying
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       the at least one digital media file on, the at least one media terminal. For example,
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       Car infotainment system is linked through a Bluetooth (i.e. media terminal security)
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       when the mobile is within range (wireless) of the Bluetooth signals.
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             23.    Defendant’s actions complained of herein will continue unless
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             Defendant is enjoined by this court.
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             24.    Defendant’s actions complained of herein are causing irreparable harm
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       and monetary damage to Plaintiff and will continue to do so unless and until
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       Defendant is enjoined and restrained by this Court.
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             25.    Plaintiff is in compliance with 35 U.S.C. § 287.
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                                    PRAYER FOR RELIEF
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             WHEREFORE, Plaintiff asks the Court to:
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             (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
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       asserted herein;
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             (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
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       employees, attorneys, and all persons in active concert or participation with Defendant
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       who receive notice of the order from further infringement of United States Patent No.
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   1   9,300,723 (or, in the alternative, awarding Plaintiff running royalties from the time of
   2   judgment going forward);
   3          (c)    Award Plaintiff damages resulting from Defendant’s infringement in
   4   accordance with 35 U.S.C. § 284;
   5          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
   6          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
   7   entitled under law or equity.
   8                                       JURY DEMAND
   9          Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully
  10   requests a trial by jury on all issues so triable.
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  12   Dated: April 21, 2022                     Respectfully submitted,
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                                                 /s/Stephen M. Lobbin
  14                                             Attorney(s) for Plaintiff
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